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                UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                Criminal No. 07-cr-189-4-GZS

Robert Wolffe



                  ORDER OF DETENTION PENDING TRIAL


     In accordance with Section 3142(f) of the Bail Reform Act,

18 U.S.C. §§ 3141 et seq., a hearing was conducted on December

10, 2007, for the purpose of determining whether to detain

defendant, Robert Wolffe, who has been indicted on one count of

conspiracy to prevent officers of the United States from

discharging their duties, one count of conspiracy to commit

offenses against the United States and one count of accessory

after the fact.

     Under 18 U.S.C. § 3142(b), a court, in making a

determination regarding detention, must evaluate the risk of the

defendant’s flight, the risk to the safety of any other person,

and the risk to the safety of the community.          In circumstances

when detention is not mandated by the court, the court is

nonetheless empowered to impose conditions on release.             18 U.S.C.

§ 3142(c).
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     Pursuant to the provisions of 18 U.S.C. § 3142(g) a court,

in assessing the risks noted in 18 U.S.C. § 3142(b), shall

consider the following: (1) the nature and circumstances of the

offense charged; (2) the weight of the evidence as to guilt;

(3) the history and characteristics of the accused, including

family ties, past history, financial resources and employment;

and (4) the nature and seriousness of the danger to any person or

the community that would be posed by a release.

     During the course of a hearing conducted pursuant to 18

U.S.C. § 3142, the government typically retains the burden of

persuading the court that “‘no condition or combination of

conditions will reasonably assure’ the defendant’s presence at

trial.”   United States v. Perez-Franco, 839 F.2d 867, 870 (1st

Cir. 1988)(quoting United States v. Palmer-Contreras, 835 F.2d

15, 17-18 (1st Cir. 1987)); United States v. Patriarca, 948 F.2d

789, 793 (1st Cir. 1991).     For its part, the government is

required to offer a preponderance of the evidence to prove risk

of flight.   See Patriarca, 948 F.2d at 792-93.         Facts necessary

to find that no combination will reasonably assure the safety of

any person and the community require satisfaction of the “clear

and convincing” standard.     18 U.S.C. § 3142(f)(2).



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       In the case at hand, the indictment itself constitutes

probable cause to believe that the offenses charged have been

committed and that the defendant has committed them.

       Here, I find that the government has met its burden with

regard to danger to the community.        Specifically, the crimes

alleged are serious and can carry with them a sentence in excess

of ten years.1      The weight of the evidence is overwhelming.

Wolffe admitted he knew the Browns were convicted fugitives who

intended resistance by force to efforts to take them into

custody.       Thereafter, Wolffe brought the Browns supplies

including lines for trip wires, led shot, food and material for

resistance.       According to his co-conspirator Riley, whose several

proffers were born out on the ground, Wolffe watched Riley and

Brown make pipe bombs and then offered to and did bring material

for more pipe bombs.       He provided a car for Brown supporters’

use.       he did counter-surveillance for the Browns and provided

armed protection.       The video and audio Wolffe asked me to watch

and listen to demonstrated that Mr. and Mrs. Wolffe, from their

own mouths were part of the conspiracy to resist.              Wolffe and his


       1
       If the pipe bombs or pipe bomb components have Wolffe’s
fingerprints or DNA, new charges for those could result in
sentences of 30 years to life.

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wife had weapons used for killing not hunting.2          They had enough

bullets for a small army.     Their bags were packed and the weapons

loaded when the marshals arrived to search.         Wolffe spent days

with the Browns, in and out of their house, where the Browns kept

pipe bombs, other explosive devices, grenades, dozens of guns

(including two .50 caliber Serbu rifles, and thousands of bullets

in open view).

     Wolffe made many friends in his community and was a good

neighbor.   However, whatever his good community ties, his

propensity for guns and his willingness to use them to support

his bizarre views make him a great danger to the community.

     I am satisfied from the representations and documents

offered during the hearing that no condition or combination of

conditions will reasonably assure the safety of the community.

     Upon full consideration of the arguments offered by the

government and defense, I am satisfied that the defendant poses a

danger to the community.

     Accordingly, it is ORDERED that the defendant be detained

pending trial.



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       An AK 47 with loaded banana clip and loaded drum were seen
on the couch and later seized from the car.

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      The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody

pending appeal.      The defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel.                    On

order of a court of the United States or on request of an

attorney for the Government, the person in charge of the

corrections facility shall deliver the defendant to the United

States Marshal for the purpose of an appearance in connection

with a court proceeding.

      SO ORDERED.


                                     ______________________________
                                     James R. Muirhead
                                     United States Magistrate Judge


Date:     December 13, 2007

cc:       Arnold Huftalen, Esq.
          Robert M. Kinsella, Esq.
          Paul J. Garrity, Esq.
          U.S. Marshal
          U.S. Probation




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